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Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 3 of 75 PAGEID #: 298
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 4 of 75 PAGEID #: 299
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 5 of 75 PAGEID #: 300
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 6 of 75 PAGEID #: 301
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 7 of 75 PAGEID #: 302
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 8 of 75 PAGEID #: 303
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 9 of 75 PAGEID #: 304
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 10 of 75 PAGEID #: 305
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 11 of 75 PAGEID #: 306
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Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 13 of 75 PAGEID #: 308
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 14 of 75 PAGEID #: 309
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 15 of 75 PAGEID #: 310
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 16 of 75 PAGEID #: 311
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 17 of 75 PAGEID #: 312
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 18 of 75 PAGEID #: 313
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 19 of 75 PAGEID #: 314
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 20 of 75 PAGEID #: 315
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 21 of 75 PAGEID #: 316
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 22 of 75 PAGEID #: 317
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Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 24 of 75 PAGEID #: 319
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Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 28 of 75 PAGEID #: 323
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Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 30 of 75 PAGEID #: 325
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 31 of 75 PAGEID #: 326
Case: 2:05-cv-00688-GLF-TPK Doc #: 40-1 Filed: 09/15/06 Page: 32 of 75 PAGEID #: 327
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